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                UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF TEXAS
                       WACO DIVISION
MV3 PARTNERS LLC                    §
                                    §     CIVIL NO:
vs.                                 §     WA:18-CV-00308-ADA
                                    §
ROKU, INC.                          §


                        LIST OF WITNESSES

FOR   PLAINTIFF                         FOR   DEFENDANT
1.    Wayne Barr                        1.    Scott De Haas
2.    David Marshack                    2.    Gregory Garner
3.    Jared Abbruzzese                  3.    Dr. Alan Bovik
4.    Steven Sprich - Deposit.          4.    Dr Samuel H. Russ
5.    Kevin Bright - Deposit.           5.    Steven Sprich
6.    Henry Goldberg - Video            6.    Kevin Bright
7.    Greg Walters                      7.    Laura O'Laughlin
8.    David Mendenhall-Video            8.    Lauren Kindler
9.    Dr Dan Schonfeld                  9.
10.   Dr M. Laurentius Marais           10.
11.   Roy Weinstein                     11.
12.                                     12.
13.                                     13.
14.                                     14.
15.                                     15.
